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5    Attorney for Defendant
     RAJESHWAR SINGH
6

7                                 UNITED STATES DISTRICT COURT
8                               EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                       )   Case No. 13-CR-00084-TLN
10                                                   )
            Plaintiff,                               )   STIPULATION AND ORDER FOR
11                                                   )   CONTINUANCE AS TO SURGIT AND
     vs.                                             )   RAJESHWAR SINGH
12                                                   )
     SURJIT SINGH, RAJESHWAR SINGH,                  )
13                                                   )
            Defendants.                              )
14                                                   )
                                                     )
15                                                   )
                                                     )
16
                                                 STIPULATION
17

18
            Erik Babcock, attorney for Rajeshwar Singh, Colin L. Cooper, attorney for Surjit Singh,

19   and Jared Dolan, attorney for the United States of America, hereby stipulate as follows:

20          1.      By previous order, this matter was set for status as to all defendants on November

21   19, 2015.

22          2.      By this stipulation, defendants Surgit and Rajeshwar Singh now move to continue

23
     the status conference until January 21, 2016 and to exclude time between November 19, 2015

     and January 21, 2016, under Local Code T4. Defendant Anita Sharma is not part of this
24
     stipulated agreement.
25
            3.      The parties agree and stipulate, and request that the Court find the following:


                                                     1
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1                    a)      Erik Babcock desires additional time to review the discovery, conduct
2    investigation and consult with his client. Counsel also desires additional time to continue
3    discussions with the prosecution to determine if this case can be resolved with a negotiated

4    disposition. In addition, Mr. Babcock is unavailable for a status conference in December, 2015

5    because of trials set in state court.

6                    b)      Counsel for all defendants believe that the failure to grant the above

7
     requested continuance would deny them the reasonable time necessary for effective preparation,

     taking into account the exercise of due diligence.
8
                     c)      The government does not object to the continuance.
9
                     d)      Based on the above-stated findings, the ends of justice served by
10
     continuing the case as requested outweigh the interest of the public and the defendants in a trial
11
     within the original date prescribed by the Speedy Trial Act.
12
                     e)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
13
     § 3161, et seq., within which trial must commence, the time period of November 19, 2015 to
14
     January 21, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv)
15
     [Local Code T4] because it results from a continuance granted by the Court at defendants’
16
     request on the basis of the Court’s finding that the ends of justice served by taking such action
17   outweigh the best interest of the public and the defendant in a speedy trial.
18           4.      Nothing in this stipulation and order shall preclude a finding that other provisions
19   of the Speedy Trial Act dictate that additional time periods are excludable from the period within
20   which a trial must commence.

21
     IT IS SO STIPULATED.
22
     DATED: November 17, 2015                              ________/s/___________________
23                                                         JARED DOLAN
                                                           Assistant United States Attorney
24
     DATED: November 17 2015                               ________/s/____________________
25                                                         COLIN L. COOPER
                                                           Attorney for Defendant Surjit Singh


                                                       2
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2
     DATED: November 17, 2015                 ________/s/____________________
                                              ERIK BABCOCK
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                                              Attorney for Defendant Rajeshwar Singh
4                                             United States Attorney

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1                                 UNITED STATES DISTRICT COURT
2                               EASTERN DISTRICT OF CALIFORNIA
3                                       SACRAMENTO DIVISION
4
     UNITED STATES OF AMERICA,                            )   Case No. 13-CR-00084-TLN
5                                                         )
            Plaintiff,                                    )
6                                                         )
     vs.                                                  )
7                                                         )
     SURJIT SINGH, RAJESHWARD SINGH,                      )
8                                                         )
            Defendants.                                   )
9

10
                                                  ORDER
11

12
            For the reasons stated above, the Court sets Thursday, January 21, 2016 at the hour of
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     9:30 a.m. as the date for the status conference as to defendants SURGIT SINGH and
14
     RAJESHWAR SINGH. The court also finds that the exclusion of this period from the time
15
     limits applicable under 18 U.S.C. §3161 is warranted, and that the ends of justice served by the
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     continuance outweigh the interests of the public and the defendant in a speedy trial for the
17
     periods from November 19, 2015, to January 21, 2016, see 18 U.S.C. §3161(h)(7)(A); and that
18
     the failure to grant the requested exclusion of time would deny counsel for the defendant the
19
     reasonable time necessary for effective preparation and continuity of counsel, taking into account
20
     the exercise of due diligence, and would result in a miscarriage of justice. See 18 U.S.C.
21
     §3161(h)(7)(B)(iv).
22
     IT IS SO ORDERED.
23

24   DATED: November 17, 2015
                                                              Troy L. Nunley
25                                                            United States District Judge



                                                      4
